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                      UNITED STATES DISTRICT COURT

                           DISTRICT OF MINNESOTA



 Brittni A. Gaines,



                      Plaintiff,           Civil Case No. 18-cv-838 (PAM/HB)



       v.                               STIPULATION FOR PROTECITVE
                                        ORDER

 City of Minneapolis; and Officer
 Nathan Bauer, in his individual
 and official capacities,



                      Defendants.




                STIPULATION FOR PROTECTIVE ORDER



WHEREAS, Defendants expect that Plaintiff will serve discovery seeking the

production of information protected from disclosure under Minnesota law, and

are willing to provide private data in discovery under a Protective Order in the

form attached hereto from the Court.



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         WHEREAS, the parties are willing to provide certain private data or

confidential documents in answer to discovery under a Protective order in the

form attached hereto from the Court.


         The parties stipulate that the court may enter the following protective

order:

1        Definitions. As used in this protective order:

         (a)   “attorney” means an attorney who has appeared in this action;

         (b)   “confidential document” means a document designated as

               confidential under this protective order;

         (c)   to “destroy” electronically stored information means to delete from

               all databases, applications, and file systems so that the information

               is not accessible without the use of specialized tools or techniques

               typically used by a forensic expert;

         (d)   “document” means information disclosed or produced in discovery,

               including at a deposition;

         (e)   “notice” or “notify” means written notice;

         (f)   “party” means a party to this action; and

         (g)   “protected document” means a document protected by a privilege,

               or the work-product doctrine.


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    (h)   “Criminal Investigative Data” is data collected and protected by

          Minn. Stat. § 13.82, Subd. 7.

2   Designating a Document or Deposition as Confidential.

    (a)   A party or non-party disclosing or producing a document may

          designate it as confidential if the party or non-party contends that it

          contains confidential or proprietary information.

    (b)   A party or non-party may designate a document as confidential by

          conspicuously marking each page with the word “confidential.”

    (c)   Deposition testimony may be designated as confidential:

          (1)   on the record at the deposition; or

          (2)   after the deposition, by promptly notifying the parties and

          those who were present at the deposition.

    (d)   If a witness is expected to testify as to confidential or proprietary

          information, a party or non-party may request that the witness’s

          deposition be taken in the presence of only those persons entitled to

          receive confidential documents.

3   Who May Receive a Confidential Document.

    (a)   A confidential document may be used only in this action.

    (b)   No person receiving a confidential document may reveal it, except

          to:
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    (1)   the court and its staff;

    (2)   an attorney or an attorney’s partner, associate, or staff;

    (3)   a person shown on the face of the confidential document to

          have authored or received it;

    (4)   a court reporter or videographer retained in connection with

          this action;

    (5)   a party (subject to paragraph 3(c)); and

    (6)   any person who:

          (A)   is retained to assist a party or attorney with this action;

                and

          (B)   signs a declaration that contains the person’s name,

                address, employer, and title, and that is in substantially

                this form:

                       I have read, and agree to be bound by, the
                protective order in the case captioned [case caption and
                number] in the United States District Court for the
                District of Minnesota. As soon as my work in
                connection with that action has ended, but not later
                than 30 days after the termination of that action
                (including any appeals), I will return or destroy any
                confidential document that I received, any copy of or
                excerpt from a confidential document, and any notes or
                other document that contains information from a
                confidential document.
                       I declare under penalty of perjury that the
                foregoing is true and correct.
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     (c)   A party may supplement the “confidential” mark (see paragraph

           2(b)) with the words “attorney’s eyes only,” in which case a

           confidential document so designated may not be revealed to another

           party.

     (d)   If a confidential document is revealed to someone not entitled to

           receive it, the parties must make reasonable efforts to retrieve it.

5.   Serving This Protective Order on a Non-Party. A party serving a

     subpoena on a non-party must simultaneously serve a copy of this

     protective order and of Local Rule 5.6.

5    Correcting an Error in Designation. A party or non-party who discloses or

     produces a confidential document not designated as confidential may,

     within 7 days after discovering the error, provide notice of the error and

     produce a copy of the document designated as confidential.

6    Use of a Confidential Document in Court.

     (a)   Filing. This protective order does not authorize the filing of any

           document under seal. A confidential document may be filed only in

           accordance with LR 5.6.

     (b)   Presentation at a hearing or trial. A party intending to present

           another party’s or a non-party’s confidential document at a hearing

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          or trial must promptly notify the other party or the non-party so that

          the other party or the non-party may seek relief from the court.

7   Changing a Confidential Document’s Designation.

    (a)   Document disclosed or produced by a party.

          A confidential document disclosed or produced by a party remains

          confidential unless the parties agree to change its designation or the

          court orders otherwise.

    (b)   Document produced by a non-party.

          A confidential document produced by a non-party remains

          confidential unless the non-party agrees to change its designation or

          the court orders otherwise after providing an opportunity for the

          non-party to be heard.

    (c)   Changing a designation by court order.

          A party who cannot obtain agreement to change a designation may

          move the court for an order changing the designation. If the motion

          affects a document produced by a non-party then, with respect to

          the motion, that non-party is entitled to the same notice and

          opportunity to be heard as a party. The party or non-party who

          designated a document as confidential must show that the

          designation satisfies Fed. R. Civ. P. 26(c).
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8   Handling a Confidential Document after Termination of Litigation.

    (a)   Within 60 days after the termination of this action (including any

          appeals), each party must:

          (1)   return or destroy all confidential documents; and

          (2)   notify the disclosing or producing party that it has returned or

                destroyed all confidential documents within the 60-day

                period.

    (b)   Notwithstanding paragraph 8(a), each attorney may retain a copy of

          any confidential document submitted to the court.

9   Inadvertent Disclosure or Production to a Party of a Protected
    Document.

    (a)   Notice.

          (1)   A party or non-party who discovers that it has inadvertently

                disclosed or produced a protected document must promptly

                notify the receiving party and describe the basis of the claim

                of privilege or protection. If the party or non-party provides

                such notice and description, the privilege or protection is not

                waived.

          (2)   A party who discovers that it may have received an

                inadvertently disclosed or produced protected document

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                   must promptly notify the disclosing or producing party or

                   non-party.

     (b)    Handling of Protected Document. A party who is notified or

            discovers that it may have received a protected document must

            comply with Fed. R. Civ. P. 26(b)(5)(B).

10   Security Precautions and Data Breaches.

     (a)    Each party must make reasonable efforts to protect the

            confidentiality of any confidential document disclosed or produced

            to that party.

     (b)    A party who learns of a breach of confidentiality must promptly

            notify the disclosing or producing party of the scope and nature of

            that breach and make reasonable efforts to remedy the breach.

11   The following data is protected and, by this order, will only be produced
     as stated below.

     The following information is private personnel data of Defendant Nathan

     Bauer, and City of Minneapolis employees that will not be produced in

     this litigation:

            home addresses, home telephone numbers, personal physical

            identification data, drivers’ license numbers, personal financial data,

            medical and psychological data, dates of birth, Social Security

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            numbers, and any information relating to employees’ family

            members or familial relationships;

    12.   This Order does not render private, data that is public under
    applicable law.

            The designation of any document, information, or thing as

    Confidential under this Order is for purposes of this Protective Order only,

    and shall not be used for the purpose of interpretation of other legal or

    substantive issues raised in this Action apart from the application of this

    Order. A designation under this Order shall not cause data or documents

    that are public under Minn. Stat. Chapter 13 to become or be considered

    private documents or data.

    13.     Survival of Obligations. The obligations imposed by this protective

    order survive the termination of this action.

DATE:
                                           Magistrate Judge Hildy Bowbeer
                                           United States District Court
                                           District of Minnesota




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Date: Nov. 14. 2018                      Date: Nov. 30, 2018

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